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                        EXHIBIT B
            SCHEDULE OF WITNESSES
                  FOR DEFENDANTS
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                           Exhibit B – Schedule of Witnesses for Defendants


     Without the benefit of having received DOJ’s witness list prior to the submission of the Pretrial
     Statement, below reflects Defendants’ anticipated order of witness. Defendants reserve the right
     to alter the order, number, and designation of witnesses. Defendants further reserve the right to
     call witnesses on the DOJ’s witness list.

                                                                                                  Will /
       Witness          Contact Information           Description of Anticipated Testimony        May
                                                                                                  Testify
1.   Jennifer        Daniel M. Petrocelli, Esq.      Ms. Walsh served as a literary agent for     Will
     Rudolph         O’Melveny & Myers LLP           more than three decades, overseeing
     Walsh*          1999 Avenue of the Stars        dozens of literary agents over the course
                     Los Angeles, CA 90067           of her career. As an industry expert Ms.
                     Telephone: (310) 553-6700       Walsh will testify that the government’s
                                                     expert opinions about the merger’s
                                                     alleged anti-competitive effects are not
                                                     consistent with the way publishers
                                                     compete to acquire the rights to books.
                                                     She will testify about how agents sell
                                                     books, how rarely books are sold in an
                                                     auction where PRH and S&S are first and
                                                     second, and how authors care about and
                                                     negotiate for more than the initial
                                                     committed advance.
2.   Madeline        Daniel M. Petrocelli, Esq.      Ms. McIntosh, CEO of Penguin Random          Will
     McIntosh        O’Melveny & Myers LLP           House U.S., will testify about the
                     1999 Avenue of the Stars        publishing industry and the acquisition of
                     Los Angeles, CA 90067           book rights.
                     Telephone: (310) 553-6700
3.   Sally Kim       Daniel M. Petrocelli, Esq.      Ms. Kim is the publisher of G.P.           Will
                     O’Melveny & Myers LLP           Putnam’s Sons, an imprint of Penguin
                     1999 Avenue of the Stars        Random House. She will testify about the
                     Los Angeles, CA 90067           acquisition of book rights, including the
                     Telephone: (310) 553-6700       competition for book rights, the different
                                                     ways in which book rights are acquired,
                                                     and the respective roles of authors,
                                                     agents, and editors in the acquisition
                                                     process.




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                          Exhibit B – Schedule of Witnesses for Defendants


                                                                                                 Will /
       Witness          Contact Information        Description of Anticipated Testimony          May
                                                                                                 Testify
4.   Jennifer        Stephen Fishbein, Esq.       Ms. Bergstrom is the publisher of Gallery      Will
     Bergstrom       Shearman & Sterling LLP      Books Group, a division of Simon &
                     599 Lexington Avenue         Schuster. She will testify about the
                     New York, NY 10022           acquisition of book rights, including the
                     Telephone: (212) 848-4000    competition for book rights, the different
                                                  ways in which book rights are acquired,
                                                  and the respective roles of authors,
                                                  agents, and editors in the acquisition
                                                  process. She will also testify about the
                                                  benefits to Simon & Schuster authors and
                                                  imprints from joining Penguin Random
                                                  House.
5.   Andrew          Elizabeth McNamara, Esq.     Mr. Wylie, a literary agent at The Wylie       Will
     Wylie           Davis Wright Tremaine LLP    Agency, will testify about his role as an
                     1251 Ave. of the Americas,   agent in selling book rights, the different
                     21st Fl.,                    ways in which he sells those rights, and
                     New York, NY 10020           the competition for those rights.
                     Telephone: (212) 603-6437
6.   Gail Ross       Elizabeth McNamara, Esq.     Ms. Ross, a literary agent at Ross Yoon        Will
                     Davis Wright Tremaine LLP    Literary Agency, will testify about her
                     1251 Ave. of the Americas,   role as an agent in selling book rights, the
                     21st Fl.,                    different ways in which she sells those
                     New York, NY 10020           rights, and the competition for those
                     Telephone: (212) 603-6437    rights.
7.   Joy Harris      Noah Pinegar, Esq.           Ms. Harris, a literary agent at The Joy        Will
                     Paul Hastings, LLP           Harris Literary Agency will testify about
                     2050 M Street NW,            her role as an agent in selling book rights,
                     Washington DC, 20036         the different ways in which she sells those
                     Telephone: (202) 551 1960    rights, and the competition for those
                                                  rights.
8.   Elyse Cheney Noah Pinegar, Esq.              Ms. Cheney, a literary agent at The            Will
                  Paul Hastings, LLP              Cheney Agency, will testify about her
                  2050 M Street NW,               role as an agent in selling book rights, the
                  Washington DC, 20036            different ways in which she sells those
                  Telephone: (202) 551 1960       rights, and the competition for those
                                                  rights.
9.   Chris Parris-   Matthew Leish, Esq.          Mr. Parris-Lamb, a literary agent at The       Will
     Lamb            Miller Korzenik Sommers      Gernet Company, will testify about his
     (By             Rayman LLP                   practices in selling book rights.
     Deposition)     1501 Broadway, Suite 2015
                     New York, NY 10036
                     Telephone: (212) 752-9200


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                        Exhibit B – Schedule of Witnesses for Defendants


                                                                                               Will /
       Witness        Contact Information        Description of Anticipated Testimony          May
                                                                                               Testify
10. Alex Berkett   Stephen Fishbein, Esq.       Mr. Berkett, Executive Vice President,         Will
                   Shearman & Sterling LLP      Corporate Development and Strategy,
                   599 Lexington Avenue         ViacomCBS, will testify about the merger
                   New York, NY 10022           transaction.
                   Telephone: (212) 848-4000

11. Brian Murray   Steven G. Mintz, Esq.        Mr. Murray, President and CEO of               Will
                   Mintz & Gold LLP             HarperCollins Publishers, will testify
                   600 Third Ave, 25th Fl.      about the background and business of
                   New York, NY 10016           HarperCollins and competition in the
                   Telephone: (212) 696-4848    publishing industry.

12. John           Lance Koonce, Esq.           Mr. Glusman, Vice President and Editor-        Will
    Glusman        Klaris Law PLLC              in-Chief at W. W. Norton & Company
                   29 Little West 12th St.      will testify about the background and
                   New York, NY 10014           business of Norton and competition in the
                   Telephone: (917) 822-7468    publishing industry.

13. Brian Tart     Daniel M. Petrocelli, Esq.   Mr. Tart is the publisher of Viking, an        May
                   O’Melveny & Myers LLP        imprint of Penguin Random House. He
                   1999 Avenue of the Stars     will testify about the acquisition of book
                   Los Angeles, CA 90067        rights, including the competition for book
                   Telephone: (310) 553-6700    rights, the different ways in which book
                                                rights are acquired, and the respective
                                                roles of authors, agents, and editors in the
                                                acquisition process.
14. Jon Anderson Stephen Fishbein, Esq.         Mr. Anderson, the publisher of Simon &         May
                 Shearman & Sterling LLP        Schuster Children’s Publishing Division,
                 599 Lexington Avenue           will testify about the acquisition of book
                 New York, NY 10022             rights, including the different competitive
                 Telephone: (212) 848-4000      landscape for children’s book rights, the
                                                different ways in which children’s book
                                                rights are acquired, and the respective
                                                roles of authors, agents, and editors in the
                                                acquisition process. He will also testify
                                                about the benefits to Simon & Schuster
                                                authors and imprints from joining
                                                Penguin Random House.




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                         Exhibit B – Schedule of Witnesses for Defendants


                                                                                                Will /
      Witness          Contact Information        Description of Anticipated Testimony          May
                                                                                                Testify
15. William         Daniel M. Petrocelli, Esq.   Mr. Thomas is the publisher and editor-        May
    Thomas          O’Melveny & Myers LLP        in-chief of Doubleday, an imprint of
                    1999 Avenue of the Stars     Penguin Random House. He will testify
                    Los Angeles, CA 90067        about the acquisition of book rights,
                    Telephone: (310) 553-6700    including the competition for book rights,
                                                 the different ways in which book rights
                                                 are acquired, and the respective roles of
                                                 authors, agents, and editors in the
                                                 acquisition process.
16. Jonathan        Stephen Fishbein, Esq.       Mr. Karp, President and CEO of Simon &         Will
    Karp            Shearman & Sterling LLP      Schuster, will testify about the
                    599 Lexington Avenue         background and business of Simon &
                    New York, NY 10022           Schuster, the merger transaction, and
                    Telephone: (212) 848-4000    competition in the publishing industry.

17. Barbara         Daniel M. Petrocelli, Esq.   Ms. Marcus, the publisher of Random            May
    Marcus          O’Melveny & Myers LLP        House Children’s Division will testify
                    1999 Avenue of the Stars     about the acquisition of book rights,
                    Los Angeles, CA 90067        including the different competitive
                    Telephone: (310) 553-6700    landscape for children’s book rights, the
                                                 different ways in which children’s book
                                                 rights are acquired, and the respective
                                                 roles of authors, agents, and editors in the
                                                 acquisition process.
18. Tina            Daniel M. Petrocelli, Esq.   Ms. Constable, the head of the Christian       May
    Constable       O’Melveny & Myers LLP        Publishing program at Penguin Random
                    1999 Avenue of the Stars     House, will testify about the acquisition
                    Los Angeles, CA 90067        of book rights, including the different
                    Telephone: (310) 553-6700    competitive landscape for religious book
                                                 rights, the different ways in which
                                                 religious book rights are acquired, and the
                                                 respective roles of authors, agents, and
                                                 editors in the acquisition process.
19. Charles         Elizabeth McNamara, Esq.     Mr. Duhigg, a New York Times best-             May
    Duhigg          Davis Wright Tremaine LLP    selling author, will testify about the sale
                    1251 Ave. of the Americas,   of book rights.
                    21st Fl.,
                    New York, NY 10020
                    Telephone: (212) 603-6437




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                         Exhibit B – Schedule of Witnesses for Defendants


                                                                                            Will /
       Witness         Contact Information        Description of Anticipated Testimony      May
                                                                                            Testify
20. Andrew          Darren Johnson, Esq.         Mr. Solomon, an author who has won a       May
    Solomon (By     Paul, Weiss, Rifkind,        National Book Critics Circle award, will
    Deposition or   Wharton & Garrison LLP       testify about the sale of book rights.
    Live)           1285 Ave. of the Americas
                    New York, NY 10019
21. Michael         David Korzenik, Esq.         Mr. Jacobs, President and CEO at Abrams May
    Jacobs (By      Miller Korzenik Sommers      Books, will testify about the background
    Deposition)     Rayman, LLP                  and business of Abrams and competition
                    1501 Broadway, Suite 2015    in the publishing industry.
                    New York, NY 10036
                    Telephone: (212) 752-9200


22. Ellie Berger    Mark H. Hamer, Esq. Baker    Ms. Berger, Executive Vice President and May
                    & McKenzie LLP               President, Trade Publishing at Scholastic
                    815 Connecticut Avenue,      Corporation, will testify about the
                    NW Washington, DC 20006      background and business of Scholastic
                    Telephone: (202) 452-7000    and competition for children’s book rights
                                                 in the publishing industry.
23. Michael         Richard Snyder, Esq.         Mr. Pietsch, CEO of Hachette Book          May
    Pietsch         Freshfields Bruckhaus        Group, will testify about the background
                    Deringer US LLP 700 13th     and business of Hachette and competition
                    St., NW, 10th Floor          in the publishing industry.
                    Washington, DC 20005
                    Telephone: (202) 777-4565




24. Don             Joel Mitnick, Esq.           Mr. Weisberg, CEO of Macmillan             May
    Weisberg        Cadwalader, Wickersham &     Publishers, will testify about the
                    Taft LLP 200 Liberty St.     background and business of Macmillan
                    New York, NY 10281           and competition in the publishing
                    Telephone: (212) 504-6555    industry.

25. Markus          Daniel M. Petrocelli, Esq.   Mr. Dohle, CEO of Penguin Random           Will
    Dohle           O’Melveny & Myers LLP        House, will testify about the merger and
                    1999 Avenue of the Stars     the publishing industry.
                    Los Angeles, CA 90067
                    Telephone: (310) 553-6700




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                         Exhibit B – Schedule of Witnesses for Defendants


                                                                                               Will /
       Witness         Contact Information        Description of Anticipated Testimony         May
                                                                                               Testify
26. Nihar           Daniel M. Petrocelli, Esq.   Mr. Malaviya is the President and Chief       Will
    Malaviya        O’Melveny & Myers LLP        Operating Officer of Penguin Random
                    1999 Avenue of the Stars     House U.S. He will testify about the
                    Los Angeles, CA 90067        merger and the publishing industry.
                    Telephone: (310) 553-6700
27. Manuel          Daniel M. Petrocelli, Esq.   Mr. Sansigre, the Head of Global Mergers Will
    Sansigre        O’Melveny & Myers LLP        & Acquisitions at Penguin Random
                    1999 Avenue of the Stars     House, will testify about the merger
                    Los Angeles, CA 90067        transactions and its benefits.
                    Telephone: (310) 553-6700
28. Edward          Daniel M. Petrocelli, Esq.   Mr. Snyder will testify about his             Will
    Snyder*         O’Melveny & Myers LLP        quantitative analysis of competition in the
                    1999 Avenue of the Stars     publishing industry, rebutting the
                    Los Angeles, CA 90067        government’s expert’s opinions about the
                    Telephone: (310) 553-6700    merger’s alleged anticompetitive effects.
                                                 Mr. Snyder will also testify about the
                                                 benefits to authors that will result from
                                                 the efficiencies the combined entity is
                                                 projected to gain from the merger.
29. Thomas Rabe     Daniel M. Petrocelli, Esq.   Mr. Rabe, Chairman and Chief Executive        Will
    (By             O’Melveny & Myers LLP        Officer of Bertelsmann, will testify about
    Deposition or   1999 Avenue of the Stars     the merger and the publishing industry.
    Remote          Los Angeles, CA 90067
    Video           Telephone: (310) 553-6700
    Conference)




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